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                                                                10   FACEBOOK, INC.

                                                                11
                                                                                               UNITED STATES DISTRICT COURT
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                                   SAN FRANCISCO DIVISION
                                                                14
                                                                      FACEBOOK, INC., a Delaware                 CASE NO.: 3:20-cv-01461
                                                                15    corporation,
                                                                16                                               COMPLAINT; DEMAND FOR
                                                                                   Plaintiff,                    JURY TRIAL
                                                                17
                                                                18          v.

                                                                19    ONEAUDIENCE LLC,
                                                                20
                                                                                   Defendant.
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                                                                1                                     INTRODUCTION
                                                                2          1.     Beginning no later than September 2019, Defendant OneAudience LLC
                                                                3    (“OneAudience”) controlled a software development kit (“SDK”) designed to
                                                                4    improperly obtain user data from Facebook, Google, and Twitter (“the malicious
                                                                5    SDK”). OneAudience promoted the malicious SDK to third-party application (“app”)
                                                                6    developers, who – in exchange for payment from OneAudience – bundled the malicious
                                                                7    SDK with other software components within their apps. These apps were distributed
                                                                8    online to app users on various app stores, including the Google Play Store, and included
                                                                9    shopping, gaming, and utility-type apps. After a user installed one of these apps on
                                                                10   their device, the malicious SDK enabled OneAudience to collect information about the
                                                                11   user from their device and their Facebook, Google, or Twitter accounts, in instances
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                                                                12   where the user logged into the app using those accounts. With respect to Facebook,
                                                                13   OneAudience used the malicious SDK – without authorization from Facebook – to
                                                                14   access and obtain a user’s name, email address, locale (i.e. the country that the user
                                                                15   logged in from), time zone, Facebook ID, and, in limited instances, gender.
                                                                16         2.     In November 2019, Facebook took technical and legal enforcement
                                                                17   measures against OneAudience, including disabling accounts, sending a cease and
                                                                18   desist letter, notifying users, and requesting an audit, pursuant to Facebook Platform
                                                                19   Policy 7.9. OneAudience has refused to fully cooperate with Facebook’s audit request,
                                                                20   therefore Facebook brings this action to protect its users and hold OneAudience
                                                                21   accountable for violations of Facebook’s Terms of Service and Policies, as well as
                                                                22   federal and California law.
                                                                23                                         PARTIES
                                                                24         3.     Facebook is a Delaware corporation with its principal place of business in
                                                                25   Menlo Park, San Mateo County, California.
                                                                26         4.     Defendant OneAudience is a New Jersey company that purports to provide
                                                                27   marketing and data analytics solutions. Ex. 1 & 2. OneAudience collected user data in
                                                                28   order to provide services to advertisers and other marketing companies. Ex. 2.

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                                                                1            5.     OneAudience has an office located at 222 Bridge Plaza South, Fort Lee,
                                                                2    New Jersey. Ex. 1.      Between at least 2017 to 2019, one or more OneAudience
                                                                3    employees created and administered at least one Facebook Page and app on behalf of
                                                                4    OneAudience.
                                                                5                               JURISDICTION AND VENUE
                                                                6            6.    The Court has federal question jurisdiction over the federal causes of
                                                                7    action alleged in this Complaint pursuant to 28 U.S.C. § 1331.
                                                                8            7.    The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the
                                                                9    state law causes of action alleged in this Complaint because they arise out of the same
                                                                10   nucleus of operative fact as Facebook’s federal claims.
                                                                11           8.    In addition, the Court has jurisdiction under 28 U.S.C. § 1332 over all
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                                                                12   causes of action alleged in this Complaint because complete diversity exists and the
                                                                13   amount in controversy exceeds $75,000.
                                                                14           9.    The Court has personal jurisdiction over OneAudience because it
                                                                15   knowingly directed and targeted its scheme at Facebook, which has its principal place
                                                                16   of business in California. Defendants also used Facebook’s developer and advertising
                                                                17   platforms, and transacted business using Facebook, and otherwise engaged in
                                                                18   commerce in California.
                                                                19           10.   The Court also has personal jurisdiction over OneAudience because
                                                                20   OneAudience used the Facebook Platform and thereby agreed to Facebook’s Terms of
                                                                21   Service (“TOS”). By agreeing to the TOS, OneAudience, in relevant part, agreed to
                                                                22   submit to the personal jurisdiction of this Court for litigating claims, causes of action,
                                                                23   or disputes with Facebook.
                                                                24           11.   Venue is proper in this District under 28 U.S.C. § 1391(b) because a
                                                                25   substantial part of the events giving rise to the claims asserted in this lawsuit occurred
                                                                26   here.
                                                                27           12.   Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                                28   Francisco or Oakland division because Facebook is located in San Mateo County.

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                                                                1                                    FACTUAL ALLEGATIONS
                                                                2           A. Background
                                                                3           13.    Facebook is a social networking website and mobile application that
                                                                4    enables its users to create their own personal profiles and connect with each other on
                                                                5    mobile devices and personal computers. As of October 2019, Facebook daily active
                                                                6    users averaged 1.62 billion and monthly active users averaged 2.44 billion.
                                                                7           14.    Facebook also operates a developer platform referred to as the “Facebook
                                                                8    Platform.” This platform enables app developers (“Developers”) to run apps that
                                                                9    interact with Facebook and Facebook users.
                                                                10          15.    Facebook permits Developers to access and interact with the Facebook
                                                                11   Platform, subject to and restricted by Facebook’s TOS and Platform Policies.1
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                                                                12          B. Facebook’s TOS
                                                                13          16.    All Facebook users, including Developers and Page administrators, agree
                                                                14   to comply with Facebook’s TOS when they create a Facebook account. Everyone who
                                                                15   uses     Facebook        must       agree      to     Facebook’s        TOS       (available      at
                                                                16   https://www.facebook.com/terms.php), and other rules that govern different types of
                                                                17   access to, and use of, Facebook. These other rules include Facebook’s Community
                                                                18   Standards (available at https://www.facebook.com/communitystandards/), Platform
                                                                19   Policies (available at https://developers.facebook.com/policy/), and Facebook’s
                                                                20   Commercial Terms (available at https://www.facebook.com/legal/commercial_terms).
                                                                21          17.    Section 2.3 of the TOS prohibits accessing or collecting data using
                                                                22   automated means (without Facebook’s prior permission) or attempting to access data
                                                                23   without permission.
                                                                24
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                                                                26
                                                                27   1
                                                                             Over the years, the “Platform Policies” have been called the “Developer Principles and
                                                                28   Policies,” the “Platform Guidelines,” or the “Developer Terms of Service.” For simplicity, this
                                                                     Complaint uses the term “Platform Policies” to refer to these policies.
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                                                                1          18.      Section 3.2 of the TOS prohibits using Facebook to do anything that
                                                                2    “violates these Terms, and other terms and policies,” and that “is unlawful, misleading,
                                                                3    discriminatory or fraudulent.”
                                                                4          C. Platform Policies
                                                                5          19.      All Developers operating on the Facebook Platform agree to the Platform
                                                                6    Policies.
                                                                7          20.      The Platform Policies impose obligations and restrictions on Developers,
                                                                8    including that Developers must obtain consent from the users of their apps before they
                                                                9    can access their users’ data on Facebook. The Platform Policies largely restrict
                                                                10   Developers from using Facebook data outside of the environment of the app, for any
                                                                11   purpose other than enhancing the app users’ experience on the app.
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                                                                12         21.      Through the Policies, Developers agree that Facebook can audit their apps
                                                                13   to ensure compliance with the Platform Policies and other Facebook policies. Further,
                                                                14   Developers agree to provide proof of such compliance if Facebook so requests.
                                                                15   Developers agree to the Platform Policies at the time they first sign up to the Platform,
                                                                16   and continue to agree to the Platform Policies as a condition of using the Facebook
                                                                17   Platform. Over time, these Platform Policies have imposed substantially the same
                                                                18   restrictions on the use and collection of Facebook data.
                                                                19         22.      The relevant Platform Policies include:
                                                                20          “Don’t sell, license, or purchase any data obtained from us or our services.”
                                                                21               Facebook Section 2.9.
                                                                22          “Don’t directly or indirectly transfer any data that you receive from us
                                                                23               (including anonymous, aggregate, or derived data) to any ad network, data
                                                                24               broker or other advertising or monetization-related service.” Section 2.10.
                                                                25          “[Facebook] or an independent auditor acting on our behalf may audit your
                                                                26               app, systems, and records to ensure your use of Platform and data you receive
                                                                27               from us is safe and complies with our Terms, and that you've complied with
                                                                28               our requests and requests from people who use Facebook to delete user data

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                                                                1                obtained through our Platform. If requested, you must provide proof that your
                                                                2                app complies with our terms.” Section 7.9.
                                                                3           “Comply with all applicable laws and regulations.” Section 5.8.
                                                                4          D. OneAudience Agreed to Facebook’s TOS and Platform Policies.
                                                                5          23.      OneAudience created two public Facebook Pages—a profile on Facebook
                                                                6    used to promote a business or other commercial, political, or charitable organization or
                                                                7    endeavor—on or about March 31, 2016 and January 5, 2017. OneAudience also created
                                                                8    a Facebook business account on or about July 13, 2016.            At all relevant times,
                                                                9    OneAudience was a Facebook user that agreed to and was bound by the TOS.
                                                                10         24.      Between approximately 2017 and 2019, OneAudience’s employees and
                                                                11   agents created and operated at least two apps on behalf of OneAudience on the
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                                                                12   Facebook Platform. OneAudience’s employees and agents accepted and agreed to be
                                                                13   bound by the Platform Policies on behalf of OneAudience. These apps did not contain
                                                                14   the malicious SDK.
                                                                15         E. The “Facebook Login” Feature.
                                                                16         25.      “Facebook Login” is a feature available to Facebook users, which lets them
                                                                17   log into third-party mobile and desktop apps using their Facebook login credentials.
                                                                18   Facebook Login allows users to customize and optimize their online experiences and to
                                                                19   create accounts with third-party apps without having to set multiple usernames and
                                                                20   passwords. In turn, these third-party web apps can use the Facebook Login feature for
                                                                21   user authentication and to enhance a user’s experience on the app.
                                                                22         26.      Third-party app developers create independent web-based mobile and
                                                                23   desktop apps. In order to use the Facebook Login feature on their apps, third-party apps
                                                                24   developers must have a Facebook account and register a developer account with
                                                                25   Facebook. In doing so, they must agree to Facebook’s TOS and Platform Policies.
                                                                26         27.      The Facebook Login feature protects Facebook users’ credentials and
                                                                27   information in several ways. First, when users provide their credentials for the purpose
                                                                28   of logging into the third-party app using the Facebook Login feature, those credentials

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                                                                1    are communicated only to Facebook’s servers, not to the servers of the app. When a
                                                                2    user logs into an app using Facebook Login, the user is assigned a unique identifying
                                                                3    digital key or token for the specific app, which authenticates the user to Facebook
                                                                4    computers (the digital key). The digital key allowed the user to access the app without
                                                                5    having to enter his or her credentials on every occasion and, in turn, allowed the app to
                                                                6    access the user’s data on Facebook with the user’s consent.
                                                                7          28.     Second, before any user’s public Facebook profile information is sent to
                                                                8    the app for verification purposes, the user must first provide consent through a custom
                                                                9    dialogue box that asks whether the user wants to share the information that the app has
                                                                10   requested.
                                                                11         F. OneAudience Used the Malicious SDK to Obtain Facebook User Data
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                                                                12               Without Facebook’s Authorization.
                                                                13         29.     OneAudience used the malicious SDK in order to access and obtain user
                                                                14   data from Facebook, without Facebook’s authorization.
                                                                15         30.     The malicious SDK was programmed to collect the digital key that
                                                                16   Facebook assigned exclusively to a third-party app for a single user. OneAudience used
                                                                17   the misappropriated digital key to make automated requests for data from Facebook.
                                                                18   OneAudience misrepresented the source of those requests as the third-party app
                                                                19   authorized to use the digital key. In fact, it was the malicious SDK that made the
                                                                20   requests on behalf of OneAudience.
                                                                21         31.     OneAudience caused the malicious SDK to send requests for the users’
                                                                22   name, locale (i.e., the country that the user logged in from), time zone, email address,
                                                                23   Facebook ID, and gender.        Ex. 3.   Facebook’s technical restrictions prevented
                                                                24   OneAudience from accessing any user data that the user had not authorized the app to
                                                                25   obtain. For example, if a user had not authorized the app to access gender information,
                                                                26   Facebook computers denied the malicious SDK’s request for the app user’s gender.
                                                                27         32.     OneAudience caused the malicious SDK to send unauthorized requests (or
                                                                28   API calls) for user data to Facebook computers in approximately 24-hour intervals. In

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                                                                1    instances where the malicious SDK was able to fraudulently obtain Facebook data, it
                                                                2    was programmed to send that data to a remote server controlled by OneAudience using
                                                                3    the domain api.oneaudience.com/api/devices. Ex. 4 & 5.
                                                                4            33.      OneAudience also caused the malicious SDK to collect data from the
                                                                5    user’s device.       The collection of that information was unrelated to Facebook.
                                                                6    OneAudience collected call logs, cell tower and other location information, contacts,
                                                                7    browser information, email, and information about apps installed on the device. Ex. 6
                                                                8    – 11.
                                                                9            34.      On information and belief, OneAudience compiled the data they harvested
                                                                10   from the user’s device and Facebook (and other services) in order to provide marketing
                                                                11   services to their customers.
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                                                                12           35.      On its website, OneAudience falsely represented that OneAudience and its
                                                                13   parent company, Bridge Company, were partners with Facebook. OneAudience’s
                                                                14   website also falsely represented that it was “committed to the transparency of [their]
                                                                15   mobile driven audiences and relationships” and sourced “data responsibly.” In fact,
                                                                16   OneAudience did not obtain data through any partnerships with Facebook and instead
                                                                17   obtained data through the malicious SDK.
                                                                18           G. Facebook’s Enforcement and Request for an Audit Pursuant to the
                                                                19                 Platform Policies.
                                                                20           36.      In November 2019, Facebook took technical and legal enforcement
                                                                21   measures against OneAudience, including disabling apps, sending a cease and desist
                                                                22   letter, notifying users, and requesting an audit, pursuant to Facebook Platform Policy
                                                                23   7.9.
                                                                24           37.      On or about November 21, 2019, Facebook sent OneAudience a cease and
                                                                25   desist letter (“C&D”). The C&D letter informed OneAudience that it had violated
                                                                26   Facebook’s TOS and Platform Policies, including selling data obtained from Facebook
                                                                27   and accessing and collecting information in unauthorized ways, including collecting
                                                                28   information in an automated way without Facebook’s express permission.

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                                                                1          38.      Among other things, the C&D letter demanded that OneAudience:
                                                                2                a. Provide a full accounting of any Facebook user data in their possession;
                                                                3                b. Identify all of the apps that had installed the malicious SDK;
                                                                4                c. Provide a copy of the software code used to interact with Facebook; and
                                                                5                d. Delete and destroy all Facebook user data and provide evidence and
                                                                6                   documentation verifying that this had taken place.
                                                                7          39.      Between November 26, 2019, to January 31, 2020, OneAudience provided
                                                                8    limited responses to Facebook’s requests for information, but maintained that it would
                                                                9    comply with the requests for information and request for an audit on an ongoing basis.
                                                                10         40.      In its correspondence, OneAudience also represented that it had
                                                                11   “inadvertently” engaged in unauthorized API call activity to acquire data from
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                                                                12   Facebook. OneAudience claimed that the malicious SDK had been developed by a
                                                                13   company called AppJolt, which did not disclose the existence or functionality of the
                                                                14   malicious SDK to OneAudience. This claim is inconsistent with publicly available
                                                                15   information about AppJolt and OneAudience. Specifically, AppJolt was acquired by
                                                                16   OneAudience’s parent company, Bridge Marketing, and the founder of AppJolt became
                                                                17   the founder of OneAudience. OneAudience had access to the malicious SDK and its
                                                                18   developer since at least 2016.
                                                                19         41.      OneAudience further claimed that the data collected by the malicious
                                                                20   SDK had been deleted on a regular basis from OneAudience’s data systems (even
                                                                21   though it had been purportedly collected without OneAudience’s knowledge).
                                                                22         42.      On January 23, 2020, Facebook requested a telephone interview with
                                                                23   relevant OneAudience employees to verify OneAudience’s representations. On or about
                                                                24   January 31, 2020, OneAudience refused Facebook’s request for an interview.
                                                                25         H. OneAudience’s Unlawful Acts Have Caused Facebook Substantial Harm.
                                                                26         43.      OneAudience’s breaches of Facebook’s Terms and Policies and other
                                                                27   misconduct described above have harmed Facebook, including by negatively impacting
                                                                28   Facebook’s service.

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                                                                1          44.    OneAudience’s misconduct has caused Facebook to spend resources
                                                                2    investigating and redressing OneAudience’s wrongful conduct. Facebook has suffered
                                                                3    damages attributable to the efforts and resources it has used to investigate, address, and
                                                                4    mitigate the matters set forth in this Complaint.
                                                                5          45.    OneAudience has been unjustly enriched by its activities at the expense of
                                                                6    Facebook.
                                                                7                                FIRST CAUSE OF ACTION
                                                                8                                      (Breach of Contract)
                                                                9          46.    Facebook incorporates all other paragraphs as if fully set forth herein.
                                                                10         47.    OneAudience agreed and became bound by Facebook’s TOS and Platform
                                                                11   Policies when it created various Facebook Pages and apps.
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                                                                12         48.    OneAudience breached these agreements with Facebook by taking the
                                                                13   actions described above in violation of TOS 2.3, 3.2 and Platform Policies 2.9, 2.10, 5.8
                                                                14   and 7.9.
                                                                15         49.    Facebook has performed all conditions, covenants, and promises required
                                                                16   of it in accordance with its agreements with OneAudience.
                                                                17         50.    OneAudience’s breaches have caused Facebook to incur damages,
                                                                18   including the expenditure of resources to investigate and respond to OneAudience’s
                                                                19   fraudulent scheme and unauthorized access.
                                                                20                              SECOND CAUSE OF ACTION
                                                                21       (Violations of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, et seq.)
                                                                22         51.    Facebook incorporates all other paragraphs as if fully set forth herein.
                                                                23         52.    Facebook’s computer network is comprised of protected computers
                                                                24   involved in interstate and foreign commerce and communication as defined by 18
                                                                25   U.S.C. § 1030(e)(2).
                                                                26         53.    OneAudience knowingly and with intent to defraud, accessed Facebook’s
                                                                27   computer network without Facebook’s authorization. Namely, OneAudience used the
                                                                28   malicious SDK to infect the app users’ devices and obtain a digital key, without

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                                                                1    Facebook’s authorization, to make API calls to Facebook protected computers while
                                                                2    purporting to be a third-party app.
                                                                3          54.    OneAudience violated 18 U.S.C. § 1030(a)(2) because it intentionally
                                                                4    accessed and caused to be accessed Facebook protected computers improperly using
                                                                5    misappropriated digital keys.
                                                                6          55.    In violation of 18 U.S.C. § 1030(a)(4), OneAudience knowingly and with
                                                                7    intent to defraud accessed Facebook’s protected computers, by sending unauthorized
                                                                8    commands, namely, API calls with stolen digital keys. These API calls purported to
                                                                9    originate from third-party apps, but in fact originated from OneAudience’s malicious
                                                                10   SDK. These commands were directed to Facebook’s computer network for the purpose
                                                                11   of obtaining data from Facebook without authorization and furthering OneAudience’s
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                                                                12   data harvesting scheme, and obtaining anything of value, including revenue, customers,
                                                                13   and user data.
                                                                14         56.    OneAudience’s conduct has caused a loss to Facebook during a one-year
                                                                15   period in excess of $5,000.
                                                                16         57.    OneAudience’s actions caused Facebook to incur losses and other
                                                                17   economic damages, including the expenditure of resources to investigate and respond
                                                                18   to OneAudience’s fraudulent scheme and unauthorized access.
                                                                19         58.    Facebook suffered damages as a result of these violations.
                                                                20                                 THIRD CAUSE OF ACTION
                                                                21                                 (California Penal Code § 502)
                                                                22         59.    Facebook incorporates all other paragraphs as if fully set forth herein.
                                                                23         60.    OneAudience knowingly accessed and without permission otherwise used
                                                                24   Facebook’s data, computers, computer system, and computer network in order to (A)
                                                                25   devise or execute any scheme or artifice to defraud and deceive, and (B) to wrongfully
                                                                26   control or obtain money, property, or data, in violation of California Penal Code §
                                                                27   502(c)(1).
                                                                28

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                                                                1          61.    OneAudience knowingly accessed and without permission took data from
                                                                2    Facebook’s computers, computer systems, and/or computer networks in violation of
                                                                3    California Penal Code § 502(c)(2).
                                                                4          62.    OneAudience knowingly and without permission used or caused to be used
                                                                5    Facebook’s computer services in violation of California Penal Code § 502(c)(3).
                                                                6          63.    OneAudience knowingly and without permission accessed or caused to be
                                                                7    accessed Facebook’s computers, computer systems, and/or computer networks in
                                                                8    violation of California Penal Code § 502(c)(7).
                                                                9          64.    Because Facebook suffered damages and a loss as a result of
                                                                10   OneAudience’s actions and continues to suffer damages as result of OneAudience’s
                                                                11   actions (including those described above), Facebook is entitled to compensatory
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                                                                12   damages, attorney’s fees, and any other amount of damages to be proven at trial, as well
                                                                13   as injunctive relief under California Penal Code § 502(e)(1) and (2).
                                                                14         65.    Because OneAudience willfully violated Section 502, and there is clear
                                                                15   and convincing evidence that OneAudience committed “fraud” as defined by Section
                                                                16   3294 of the Civil Code, Facebook entitled to punitive and exemplary damages under
                                                                17   California Penal Code § 502(e)(4).
                                                                18                                 PRAYER FOR RELIEF
                                                                19         Facebook seeks judgment awarding the following relief:
                                                                20         1.     That the Court enter judgment against Defendant that Defendant has:
                                                                21                a. Breached its contract with Facebook, in violation of California law;
                                                                22                b. Violated the Computer Fraud and Abuse Act, in violation of 18 U.S.C.
                                                                23                   § 1030;
                                                                24                c. Violated the California Comprehensive Computer Data Access and
                                                                25                   Fraud Act, in violation of California Penal Code § 502.
                                                                26         2.     That the Court enter a permanent injunction:
                                                                27                a. Ordering Defendant to comply with Platform Policy 7.9 and respond,
                                                                28                   fully and accurately, to Facebook’s requests for information and proof

                                                                                                               11                        3:20­cv­01461
                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                            Case 3:20-cv-01461-JD Document 1 Filed 02/27/20 Page 13 of 37



                                                                1                       of compliance with Facebook’s Policies, including a forensic data
                                                                2                       audit;
                                                                3                 b. Barring Defendant from accessing or attempting to access Facebook’s
                                                                4                       website and computer systems;
                                                                5                 c. Barring Defendant from creating or maintaining any Facebook
                                                                6                       accounts in violation of Facebook’s TOS and Platform Policies;
                                                                7                 d. Barring Defendant from engaging in any activity to defraud Facebook
                                                                8                       or its users; and
                                                                9                 e. Barring Defendant from engaging in any activity, or facilitating others
                                                                10                      to do the same, that violates Facebook’s TOS and Platform Policies, or
                                                                11                      other related policies referenced herein.
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12          3.    That Facebook be awarded damages, including, but not limited to,
                                                                13   compensatory, statutory, and punitive damages, as permitted by law and in such
                                                                14   amounts to be proven at trial.
                                                                15          4.    That Facebook be awarded a recovery in restitution equal to any unjust
                                                                16   enrichment enjoyed by Defendant.
                                                                17          5.    That Facebook be awarded its reasonable costs, including reasonable
                                                                18   attorneys’ fees.
                                                                19          6.    That Facebook be awarded pre- and post-judgment interest as allowed by
                                                                20   law.
                                                                21   ///
                                                                22   ///
                                                                23   ///
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                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1          7.     That the Court grant all such other and further relief as the Court may deem
                                                                2    just and proper.
                                                                3
                                                                4    Dated: February 27, 2020                     HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                   By:        /s/ Ann Marie Mortimer
                                                                7                                                            Ann Marie Mortimer
                                                                                                                             Jason J. Kim
                                                                8                                                            Jeff R. R. Nelson
                                                                9                                                         Attorneys for Plaintiff
                                                                                                                          FACEBOOK, INC.
                                                                10
                                                                                                                             Platform Enforcement and
                                                                11                                                           Litigation
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                           Facebook, Inc.
                                                                                                                             Jessica Romero
                                                                13                                                           Michael Chmelar
                                                                14                                                           Olivia Gonzalez
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                                                                            Case 3:20-cv-01461-JD Document 1 Filed 02/27/20 Page 15 of 37



                                                                1                                     DEMAND FOR JURY TRIAL
                                                                2            Plaintiff hereby demands a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: February 27, 2020                          HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                        By:        /s/ Ann Marie Mortimer
                                                                7                                                                 Ann Marie Mortimer
                                                                                                                                  Jason J. Kim
                                                                8                                                                 Jeff R. R. Nelson
                                                                9                                                              Attorneys for Plaintiff
                                                                                                                               FACEBOOK, INC.
                                                                10
                                                                11                                                                Platform Enforcement and
                                                                                                                                  Litigation
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                                Facebook, Inc.
                                                                13                                                                Jessica Romero
                                                                                                                                  Michael Chmelar
                                                                14                                                                Olivia Gonzalez
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                                                                                                      COMPLAINT; DEMAND FOR JURY TRIAL
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                       EXHIBIT 1


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  02/19/2020 - oneaudience.com/privacy as on 2019-08-23 via archive.org

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5 Feb 2017 - 23 Aug 2019                                                                                   61 11        2018 2019 202   About this capture




                 oneAudience                                                     DEVELOPERS   INSIGHTS   GET STARTED         LOGIN




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                             12.Contacting Us About Privacy Questions or
                             Concerns
                             If you have any questions regarding our Privacy
                             Policy, or in the event that you wish to verify which
                             of your Personal Information we have collected,
                             please contact us at privacy@oneaudience.com or
                             by mailing us at:
                             oneAudience
                             222 Bridge Plaza South
                             =art Lee, NJ 07024




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                       EXHIBIT 2


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     What We Collect
     As detailed in our permission screen, our SDK collects the following PII if user permits:

          •   Advertising ID:
          •   Carrier: The devices carrier
          •   Device Language: Language preference on the user’s device
          •   Device Manufacturer: The manufacturer of the device such as samsung, sony, HTC
          •   Device Model: The model of the device such as Samsung 8, iPhone 6S
          •   Location: The latitude and longitude of the device
          •   Hashed Email: The hashed email to identify a real device and prevent mobile fraud
          •   User Platform: User’s device platform such as Android, iOS, Blackberry, Windows, other


     How the Data is Used




                SOK



                                                     O
          Embed SDK into 3rd                                        Overlay SDK/EMAIL/ONLINE        Create audience from
           party mobile apps.                                        data to identify individuals       mobile data
                                           mobile info including:
                                       •    Mobile Ad ID
                                       •    App Ownership
                                       •    Location
                                       •    Hashed Emails
                                       •    Device Make & Model




     access and collect his or her personal data. We are also transparent in our terms and conditions
     and privacy policy so the user is aware of what is being collected and how it is being used. The user

     With our commitment to our developer partners, we store and process all user data to ensure that
     it’s secure and protected.




     With a rich understanding of users, we create audiences based on each individual’s unique
     interests, app activity, lifestyle, purchase behaviors and more. This way, we help serve our network
     of partners with not only fully compliant, but also truly valuable data to drive marketing intelligence.


contact@oneaudience.com / 800-915-6486 / www.oneaudience.com
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                       EXHIBIT 3


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              Facebook Data Collection: SDK version 6.0.0.5

com.oneaudience.sdk.q

package com.oneaudience.sdk;

import android.content.Context;
import android.content.SharedPreferences;
import android.net.Uri;
import com.oneaudience.sdk.c.a.a;
import com.oneaudience.sdk.c.h;
import java.util.HashMap;

public class q extends j implements k {
 private static final Uri e = Uri.parse("https://graph.facebook.com/v2.5/me");

 public a a(Context paramContext, SharedPreferences paramSharedPreferences, String
paramString) {
  this();
  HashMap<Object, Object> hashMap;

*      *      *

    (new HashMap<>()).put("fields",
"id,first_name,gender,last_name,link,locale,name,timezone,updated_time,verified,email");
    return new a(h.a(e, this).toString(), null, null, false);
  }
}




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                       EXHIBIT 4


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      API.OneAudience.com/API Domain: SDK version 6.0.0.5

com.oneaudience.sdk.i

package com.oneaudience.sdk;

import a.b.a.o;
import android.content.Context;
import android.content.SharedPreferences;
import android.net.Uri;
import com.oneaudience.sdk.a.m;
import com.oneaudience.sdk.c.a.a;
import com.oneaudience.sdk.c.a.b;
import com.oneaudience.sdk.c.b.c;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.model.ServerConfig;
import java.util.HashMap;
import java.util.Map;
import org.json.JSONArray;
import org.json.JSONObject;

class i extends j implements k {
 private static final String e = "i";
 private static final Uri f = Uri.parse("https://api.oneaudience.com/api");




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                       EXHIBIT 5


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         02/19/2020 – Screenshot from domaintools.com: oneaudience.com

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             domain names,IP addresses, name server, email adds          Advanced         Filters:    oneaudience.com


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         Whois     History x

a                                                                                       oneaudience.com                                                                                        4 Ct
                 Historical Records                                                                          2017-08-19 - (3 years ago)
                                                      c Older                                                                                                                         Newer >
                     96 records found

               2020-02-18             changes       Domain             oneaudience.com
p              2020-01-25             changes
                                                    Record Date        2017-08-19
               2019-12-23             changes
9.
                                                    Registrar          GoDaddy.com, LLC
               2019-12-18             changes

               2019-12-06             changes       Server              whois.godaddy.com

               2019-11-26             changes
                                                    Created            2004-05-31(16 years ago)
               2019-11-13             changes
                                                    Updated             2017-06-01(3 years ago)
4)                                    changes
               2019-11-12
               2019-11-07             changes       Expires             2018-05-31(2 years ago)
S                                     changes
               2019-11-01                                              • abuse@godaddy.com
                                                    Unique Emails
               2019-09-08             changes                          • admin@thebridgecorp.com
               2019-08-14             changes
                                                    View Changes         side by Side        Inline       Raw Records
               2019-07-16             changes

               2019-06-13             changes
                                                     Domain Name: oneaudience.com
               2019-05-29             changes        Registry Domain ID: 121446002_DOMAIN_COM-VRSN
                                                     Registrar NHOIS Server: whois.godaddy.com
               2019-02-25             changes
                                                     Registrar URL: hitp://www.godaddy.com
               2018-11-26             changes        Updated Date: 2017-06-01T14:40:562
                                      changes        Creation Date: 2004-05-31T05:51:332
               2018-08-21
                                                     Registrar Registration Expiration Date: 2018-05-31T05:51:337
               2018-06-02             changes        Registrar: GoDaddy.com, LLC
                                      changes        Registrar IANA ID: 146
               2018-05-29
                                                     Registrar Abuse Contact Email: abuse@godaddy.com
               2018-05-15             changes
                                                     Registrar Abuse Contact Phone: +1.4806242505
               2018-04-30             changes        Domain Status: clientTransterProhibited http://www.icann.org/eppAclientTransterProhibited
                                                     Domain Status: clientUpdateProhibited http://www.icann.org/eppAclientUpdateProhibited
               2018-04-13             changes
                                                     Domain Status: clientRenewProhibited http://www.icann.org/eppAclientRenewProhibited
               2018-04-04             changes        Domain Status: clientDeleteProhibited http://www.icann.org/eppAclieniDeleteProhibited
                                                     Registry Registrant ID: Not Available From Registry
               2018-04-01             changes
                                                     Registrant Name: Jama Mar
               2018-03-29             changes        Registrant Organization:
                                      changes        Registrant Street: 222 Bruce Reynolds Blvd.
               2018-03-23
                                                     Registrant Street: 2nd Floor
               2018-03-01             changes        Registrant City: Fort Lee
                                      changes        Registrant State/Province: New Jersey
               2018-02-23
                                                     Registrant Postal Code: 07024
                 2017-08-19           changes        Registrant Country: US
               2017-06-02             changes        Registrant Phone: 41.9177577438
                                                     Registrant Phone Ext:
               2017-05-29             changes
                                                     Registrant Fax:
               2017-04-17             changes        Registrant Fax Ext:
                                                     Registrant Email: admin@thebridgecorp.com
               2016-12-13             changes




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                       EXHIBIT 6


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                  Contacts Collection: SDK version 6.0.0.5

com.oneaudience.sdk.a.n

package com.oneaudience.sdk.a;

import android.content.Context;
import android.database.Cursor;
import android.provider.ContactsContract;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.m;
import com.oneaudience.sdk.model.Contact;
import java.util.ArrayList;

public class n extends b {
 private static final String[] o = new String[] { "android.permission.READ_CONTACTS" };

 private final String p = n.class.getSimpleName();

 protected n(Context paramContext, String paramString, boolean paramBoolean1, boolean
paramBoolean2, long paramLong) {
   super(paramContext, paramString, paramBoolean1, paramBoolean2, paramLong, "contacts",
"disableContactsCollector", true, true);
 }

 private ArrayList<Contact> i() {
  this();
  ArrayList<Contact> arrayList;
  String[] arrayOfString;
  (arrayOfString = new String[2])[0] = "contact_id";
  (new String[2])[1] = "deleted";
  Cursor cursor;
  int i = (cursor =
this.c.getContentResolver().query(ContactsContract.RawContacts.CONTENT_URI, arrayOfString,
null, null, null)).getColumnIndex("contact_id");
  int j = this.c.getContentResolver().query(ContactsContract.RawContacts.CONTENT_URI,
arrayOfString, null, null, null).getColumnIndex("deleted");
  if (this.c.getContentResolver().query(ContactsContract.RawContacts.CONTENT_URI,
arrayOfString, null, null, null).moveToFirst())
    while (!cursor.isAfterLast()) {
      int k = cursor.getInt(i);
      if (!((cursor.getInt(j) == 1) ? 1 : 0))
        arrayList.add(new Contact(d(k), c(k), a(k), e(k), b(k)));
      cursor.moveToNext();
    }
  cursor.close();
  return arrayList;




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                       EXHIBIT 7


                             27
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                    Call Log Collection: SDK version 6.0.0.5

com.oneaudience.sdk.a.j

package com.oneaudience.sdk.a;

import android.content.Context;
import android.database.Cursor;
import android.net.Uri;
import android.os.Build;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.m;
import com.oneaudience.sdk.model.Call;
import java.util.ArrayList;

public class j extends b {
 protected j(Context paramContext, String paramString, boolean paramBoolean1, boolean
paramBoolean2, long paramLong) {
   super(paramContext, paramString, paramBoolean1, paramBoolean2, paramLong,
"call_logs_data", "disableCallLogsCollector", true, true);
 }

 private ArrayList<Call> i() {
   String str = "date>=" + (System.currentTimeMillis() - 2592000000L);
   Uri uri = Uri.parse("content://call_log/calls");
   this();
   ArrayList<Call> arrayList;
   Cursor cursor;
   if ((cursor = this.c.getContentResolver().query(uri, null, this, null, "date DESC")) != null) {
     while (moveToNext())
      arrayList.add(new Call(getString(getColumnIndex("number")),
getString(getColumnIndex("name")), getString(getColumnIndex("date")),
getString(getColumnIndex("type")), getString(getColumnIndex("duration"))));
     close();
   }
   return arrayList;
 }




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                       EXHIBIT 8


                             29
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          Cell Tower Location Collection: SDK version 6.0.0.5

com.oneaudience.sdk.a.l

package com.oneaudience.sdk.a;

import android.content.Context;
import android.os.Build;
import android.telephony.CellIdentityCdma;
import android.telephony.CellIdentityGsm;
import android.telephony.CellIdentityLte;
import android.telephony.CellIdentityWcdma;
import android.telephony.CellInfo;
import android.telephony.CellInfoCdma;
import android.telephony.CellInfoGsm;
import android.telephony.CellInfoLte;
import android.telephony.CellInfoWcdma;
import android.telephony.CellSignalStrengthCdma;
import android.telephony.CellSignalStrengthGsm;
import android.telephony.CellSignalStrengthLte;
import android.telephony.CellSignalStrengthWcdma;
import android.telephony.TelephonyManager;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.m;
import com.oneaudience.sdk.model.CellTowerInfo;
import java.util.ArrayList;
import java.util.Iterator;

public class l extends b {
  private static final String[] o = new String[] { "android.permission.ACCESS_COARSE_LOCATION"
};

 protected l(Context paramContext, String paramString, boolean paramBoolean1, boolean
paramBoolean2, long paramLong) {
   super(paramContext, paramString, paramBoolean1, paramBoolean2, paramLong,
"cell_tower_data", "disableCellTowerCollector", true, true);
 }

 private ArrayList<CellTowerInfo> i() {
  this();
  ArrayList arrayList;
  TelephonyManager telephonyManager =
(TelephonyManager)this.c.getSystemService("phone");




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                       EXHIBIT 9


                             31
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              Email Address Collection: SDK version 6.0.0.5

com.oneaudience.sdk.a.p

package com.oneaudience.sdk.a;

import android.accounts.Account;
import android.accounts.AccountManager;
import android.content.Context;
import android.text.TextUtils;
import android.util.Patterns;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.m;
import java.util.regex.Pattern;

public class p extends b {
 private static final String[] o = new String[] { "android.permission.GET_ACCOUNTS" };

 protected p(Context paramContext, String paramString, boolean paramBoolean1, boolean
paramBoolean2, long paramLong) {
   super(paramContext, paramString, paramBoolean1, paramBoolean2, paramLong, "email",
"disableEmailsCollector", true, true);
 }

 public String a() {
   String str = "";
   if (m.a(this.c, "android.permission.GET_ACCOUNTS")) {
     Pattern pattern = Patterns.EMAIL_ADDRESS;
     Account[] arrayOfAccount;
     int i = (arrayOfAccount = AccountManager.get(this.c).getAccounts()).length;
     for (byte b1 = 0; b1 < i; b1++) {
       String str1 = account.name;
       Account account;
       if (pattern.matcher((account = arrayOfAccount[b1]).name).matches() &&
!str.toLowerCase().contains(str1.toLowerCase()))
         str = str + str1 + ",";
     }




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                       EXHIBIT 10


                             33
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        Name of Installed Apps Collection: SDK version 6.0.0.5

com.oneaudience.sdk.a.s

package com.oneaudience.sdk.a;

import android.content.Context;
import com.oneaudience.sdk.B;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.model.InstalledPackage;
import java.util.ArrayList;

public class s extends b {
 private final String o = s.class.getSimpleName();

 protected s(Context paramContext, String paramString, boolean paramBoolean1, boolean
paramBoolean2, long paramLong) {
   super(paramContext, paramString, paramBoolean1, paramBoolean2, paramLong,
"installed_apps", "disableInstallAppsCollector", true, true);
 }

 private ArrayList<InstalledPackage> i() {
   return (new B(this.c)).a();
 }




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                       EXHIBIT 11


                             35
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          Location Information Collection: SDK version 6.0.0.5

com.oneaudience.sdk.a.u

package com.oneaudience.sdk.a;

import android.content.Context;
import android.location.Location;
import android.location.LocationListener;
import android.location.LocationManager;
import android.os.Bundle;
import android.os.Handler;
import android.os.Looper;
import com.oneaudience.sdk.c.d;
import com.oneaudience.sdk.model.LocationData;
import java.util.Iterator;
import java.util.List;

public class u extends b implements LocationListener {
 private static final String[] o = new String[] {
"android.permission.ACCESS_COARSE_LOCATION",
"android.permission.ACCESS_FINE_LOCATION" };

 private Location p;

 private LocationManager q = (LocationManager)this.c.getSystemService("location");

 private Handler r = new Handler(Looper.getMainLooper());

 private List<String> s;

 private Runnable t = new t(this);

 protected u(Context paramContext, String paramString, boolean paramBoolean1, boolean
paramBoolean2, long paramLong) {
   super(paramContext, paramString, paramBoolean1, paramBoolean2, paramLong,
"location_data", "disableLocationCollector", false, false);
 }




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